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                        UN ITED STA TES D ISTRICT COU RT FO R TH E
                             SOUTHERN DISTRJCT OF FLORIDA
                                      M iam iDivision

                           C ase N um ber: 11-20507-C IV -M O R EN O

  K ENT FM N K ,

         Petitioner,

  VS.

  UN ITED STA TES OF A M ERICA ,

         Respondent.
                                              /

        O R DER AD O PT IN G M A G ISTM TE 'S R EPO RT A N D R EC O M M EN DA TIO N


         TH E M ATTER w asreferred to the H onorable Patrick A .W hite,United States M agistrate

  JudgeforaReportandRecommendation(D.E.No.2),filedonFebruary14.2011.TheMagistrate
  Judgetiled aReportand Recommendation (D.E.No.27)on January27.2012 afterholdingan
  evidentiaryhearing.TheCourthasreviewedtheentirefileand record and heardargum enton M ay

  23.2012.TheCourthasmadeadenovoreview oftheissuesthattheobjectionstotheMagistrate
  Judge'sReportandRecomm endation present,andbeingotherwisefullyadvised in thepremises,it



         AD JU DG E D that U nited States M agistrate Judge Patrick A . W hite's Report and

  Recommendation (D.E. No. 27) on Januarv 27. 2012 is AFFIRM ED and ADOPTED.
  A ccordingly,itis

         A DJU DG E D that:
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         (1)    Petitioner'sMotion to Vacate(D.E.No.1),tsledpursuantto 28U.S.C.j2255is
         D EN IED .
                                                                   V F
         DONE AND ORDERED in Open CourtatM iami,Florida,thisze day ofM ay,2012.




                                                    FE      A .M O REN O
                                                    > 1 D STA TES DISTRICT JU D GE

  Copiesprovided to:
  United StatesM agistrateJudge Patrick A .W hite
  CounselofRecord




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